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                          THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWNSVILLE DIVISION

    ELMITA R. VILLELA and CRISTAL M. §
    VERA,                              §                         Case No.: 1:21-cv-100
                                       §
                     Plaintiffs,       §                         JURY TRIAL DEMANDED
          vs.                          §
                                       §
   RCI HOSPITALITY HOLDINGS, INC., JAI §
   DINING SERVICES (HARLINGEN), INC §
   dba JAGUARS; and ERIC S. LANGAN,    §
                                       §
                     Defendants.       §
                                       §

                            PLAINTIFFS’ ORIGINAL COMPLAINT
         Plaintiffs ELMITA R. VILLELA, (“Plaintiff Villela”) and CRISTAL M. VERA,

  (“Plaintiff Vera”), individually and on behalf of all others similarly situated, allege the following

  upon information and belief, based upon investigation ofcounsel, published reports, and personal

  knowledge:

  I.     NATURE OF THE ACTION
         1.      Plaintiff alleges causes of action against Defendants RCI HOSPITALITY

  HOLDINGS, INC., JAI DINING SERVICES (HARLINGEN), INC. d/b/a JAGUARS, and ERIC

  S. LANGAN, (“Defendants”) for damages resulting from Defendants evading the mandatory

  minimum wage and overtime provisions of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et

  seq.(“FLSA”) and illegally absconding with Plaintiffs tips.

         2.      Defendants own and operate a strip club named Jaguars in Harlingen. These causes

  of action arise from Defendants’ willful actions while Plaintiff Villela was employed by

  Defendants from approximately February 20, 2018 through October 31, 2019 and while Plaintiff

  Vera was employed by Defendant from approximately 2011 through October 1, 2019.

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      Throughout their employment with Defendants, Plaintiffs have been denied minimum wage

      payments and denied overtime as part of Defendants scheme to classify Plaintiffs and other

      dancers/entertainers as “independent contractors.” As the Department of Labor explained in a

      recent Administrative Interpretation:

           Misclassification of employees as independent contractors is found in an increasing
           number of workplaces in the United States, in part reflecting larger restructuring of
           business organizations. When employersimproperly classify employees as independent
           contractors, the employees may not receive important workplace protections such as the
           minimum wage, overtime compensation, unemployment insurance, and workers’
           compensation. Misclassification also results in lower tax revenues for government and an
           uneven playing field for employers who properly classify their workers. Although
           independent contracting relationships can be advantageous for workers and businesses,
           some employees may be intentionally misclassified as a means to cut costs and avoid
           compliancewith labor laws.1

              As alleged in more detail below, that is exactly what the Defendant is doing in this case.

              3.       Plaintiffs worked at Defendants’ principal place of business located at 14286 West

      Expressway 83, Harlingen, Texas 78552.

              4.       Defendants failed to pay Plaintiffs minimum wages and overtime wages for all

      hours worked in violation of 29 U.S.C. §§ 206 and 207 of the FLSA.

              5.       Defendants’ conduct violates the FLSA, which requires non-exempt employees to

      be compensated for their overtime work at a rate of one and one-half (1 ½) times their regularrate

      of pay. See 29 U.S.C. § 207(a).

              6.       Furthermore, Defendants’ practice of failing to pay tipped employees pursuant to

      29 U.S.C. § 203(m), violates the FLSA’s minimum wage provision. See 29 U.S.C. § 206.

              7.       Plaintiffs bring a collective action to recover the unpaid overtime compensation

      and minimum wage owed to them individually and on behalf of all other similarly situated



1
    See DOL Admin. Interp. No. 2015-1, available at http://www.dol.gov/whd/workers/Misclassification/AI- 2015_1.pdf

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   employees, current and former, of Defendants. Members of the Collective Action are hereinafter

   referred to as “FLSA Class Members.”

           8.    As a result of Defendants’ violations, Plaintiffs and the FLSA Class Members seek

  to recover double damages for failure to pay minimum wage, overtime liquidated damages,

  interest, and attorneys’ fees.

  II.      PARTIES

           9.    Plaintiffs are individual adult residents of the State of Texas. Furthermore,

  Plaintiffs were employed by Defendants and qualifies as an “employee” of Defendants as defined

  by the FLSA, 29 U.S.C. § 203(e)(1).

           10.   The FLSA Class Members are all current and former exotic dancers who worked

  at JAGUARS San Antonio at any time starting three (3) years before this Complaint was filed,

  up to the present.

           11.   Defendant JAI DINING SERVICES (HARLINGEN), INC. DBA JAGUARS

  (“Jaguars” or the “Club”) is a Texas corporation with its principal address located at 10737 Cutten

  Road, Houston, Texas 77066. At all times mentioned herein, Jaguars was an “employer” or “joint

  employer” as defined by the FLSA, 29 U.S.C. § 203(d) and (g). Jaguars’ may be served via its

  agent for service of process, Robert D. Axelrod at 5300 Memorial Dr., Suite 1000, Houston, TX

  77007.

           12.   Defendant RCI HOSPITALITY HOLDINGS, INC. (“RCI”) is a Texas corporation

  with its principal address located at 10737 Cutten Rd., Houston, TX 77066. At all times

  mentioned herein, RCI was an “employer” or “joint employer” as defined by the FLSA, 29 U.S.C.

  § 203(d) and (g). RCI is the owner/parent company of Jaguars, and therefore controls and

  participates in the functions of Jaguars and its management of the Club. RCI may be served via


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  its agent for service of process, Robert D. Axelrod at 5300 Memorial Dr., Suite 1000, Houston,

  TX 77007.

         13.     Defendant ERIC S. LANGAN (“Langan”) is the President of Jaguars who

  executed policies regarding payment to dancers and management of dancers and/or was

  responsible for determining whether Jaguars complied with the FLSA. This defendant may be

  served at 5404 Pine Street, Bellaire, TX 77401, or anywhere he may be found.

         14.     RCI and LANGAN acted directly or indirectly on behalf of the Club, and, at all

  times mentioned herein was an “employer” or “joint employer” of Plaintiffs within the meaning

  of the FLSA. They exerted operational and management control over Defendants, including day

  to day management. LANGAN was and is, frequently present at, owned, directed, controlled and

  managed the operations at the Club. RCI and LANGAN also controlled the nature, pay structure,

  and employment relationship of Plaintiff and the FLSA Class Members. RCI and LANGAN had,

  at all times relevant to this lawsuit, the authority to hire and fire employees of the Club, the

  authority to direct and supervise the work of employees, the authority to sign onthe business’

  checking accounts, including payroll accounts, and the authority to make decisions regarding

  employee compensation and capital expenditures. Additionally, they were responsible for the

  day-to-day affairs of the Club. In particular, RCI and LANGAN were responsible for determining

  whether the Club complied with the FLSA.

         15.     At all material times, Defendants have been an enterprise in commerce or in the

  production of goods for commerce within the meaning of 29 U.S.C. § 203(r)(1) of the FLSA

  because they have had employees at their Club engaged in commerce, which has travelled in

  interstate commerce. Moreover, because of Defendants’ interrelated activities, they function in

  interstate commerce. 29 U.S.C. § 203(s)(1).

         16.     Furthermore, Defendants have had, and continue to have, an annual gross business
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  volume in excess of the statutory standard.

         17.     At all material times during the three (3) years prior to the filing of this action,

  Defendants categorized all dancers/entertainers employed by Defendants as “independent

  contractors” and have failed and refused to pay wages or compensation to such

  dancers/entertainers. Plaintiffs were individual employees who engaged in commerce or in the

  production of goods for commerce as required by 29 U.S.C. §§ 206-207.

         18.     Plaintiffs are informed and believe that, at all relevant times herein, Defendants

  engaged in the acts alleged herein and/or condoned, permitted, authorized, and/or ratified the

  conduct of its employees and agents, and other Defendants and are vicariously or strictly liable for

  the wrongful conduct of its employees and agents as alleged herein.

         19.     Plaintiffs are informed and believe, and on that basis alleges that, each of the

  Defendants acted, in all respects pertinent to this action, as the agent or employee of each other,

  and carried out a joint scheme, business plan, or policy in all respect thereto and, therefore, the

  acts of each of these Defendants are legally attributable to the other Defendants, and that these

  Defendants, in all respects, acted as employers and/or joint employers of Plaintiffs in that each of

  them exercised control over their wage payments and control over their duties.

         20. Plaintiffs a r e informed and believe, and on that basis alleges that, at all relevant

  times, each and every Defendant has been the agent, employee, representative, servant, master,

  employer, owner, agent, joint venture, and alter ego of each of the other and each was acting within

  the course and scope of his or her ownership, agency, service, joint venture and employment.

         21.     At all times mentioned herein, each and every Defendant was the successor of the

  other and each assumes the responsibility for the acts and omissions of all other Defendant.




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  III.    VENUE AND JURSIDICTION

          22.    This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

  § 1331 because this action arises under the FLSA, 29 U.S.C. §§ 201, et seq.

          23.    Venue is proper in this District because all or a substantial portion of the events

  forming the basis of this action occurred in this District. Defendants’ Club is located in this

  District and Plaintiffs worked in this District.

  IV.     ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

  (AGAINST ALL DEFENDANTS)

          A.     FACTUAL ALLEGATIONS

          24.    Defendant operates an adult-oriented entertainment facility located at 14286 West

  Expressway 83, Harlingen, Texas 78552. The picture below depicts the outside of the Club.




          25. At all times mentioned herein, Defendants were “employer(s)” or “joint employer(s)”

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   of Plaintiff.

          26.      At all times during the three (3) years prior to the filing of the instant action,

  Defendants categorized all dancers/entertainers employed by Defendants as “independent

  contractors” and have failed and refused to pay wages to such dancers.

          27.      At all times relevant to this action, Defendants exercised a great deal of operational

  and management control over the subject Club, particularly in the areas of terms and conditions

  of employment applicable to dancers and entertainers.

          28.      Plaintiff Villela began working as a dancer for Defendants on or about February

  20, 2018 through October 31, 2019.

          29.      Plaintiff Vera began working as a dancer for Defendants on or about 2011 through

  October 1, 2019.

          30.      The primary duty of an entertainer is to dance and entertain customers and give

  them a good experience. Specifically, an entertainer performs stage and table dances, and

  entertains customers on an hourly basis.

          31. Stated differently, entertainers dance on stage, perform table dances, and

  entertain customers in VIP rooms, all while nude or semi-nude.

          32.      Plaintiffs worked and performed at the adult-oriented entertainment facility

  multiple shifts per week. Plaintiffs were integral parts of Defendants’ business which operated

  solely as an adult-oriented entertainment facility featuring nude or semi-nude female entertainers.

          33.      Defendants did not pay entertainers on an hourly basis.

          34.      Defendants exercised significant control over Plaintiffs during her shifts, and

  Defendants required Plaintiffs to work an entire shift.

          35.      Defendants set prices for all VIP performances.

          36.      Defendants charge the dancers a late fee if they do not arrive for a shift on time.
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         37.     Defendants controlled the means and manner in which Plaintiffs could perform.

         38.     Defendants had the authority to suspend, fine, fire, or otherwise discipline

  entertainers for non-compliance with their rules regarding dancing.

         39.     Defendants actually suspended, fined, fired, or otherwise disciplined entertainers

  for non-compliance with their rules regarding dancing.

         40.     Although Defendants allowed entertainers to choose their own costumes,

  Defendants reserved the right to decide what a particular entertainer was allowed to wear on the

  premises. In order to comply with the Club’s dress and appearance standards, Plaintiffs typically

  expended approximately thirty (30) minutes of time each shift getting ready for work without

  being paid any wages for such time getting ready. Defendants did enforce the dress code on the

  entertainers, to the extent such may have been required as a sexually oriented business by the City

  of Harlingen and/or State of Texas.

         41.     Plaintiffs were compensated exclusively through tips from Defendants’ customers.

  That is, Defendants did not pay Plaintiffs whatsoever for any hours worked at their establishment.

         42.     Defendants also required Plaintiffs to share their tips with Defendants, other non-

  service employees who do not customarily receive tips, including the managers, disc jockeys, and

  the house mother. Defendants required Plaintiff and other entertainers to tip out the floor men and

  DJs at least $20.00 each, as well as other non-entertainers who the entertainers interacted with at

  the Club.

         43.     Defendants are in violation of the FLSA’s tipped-employee compensation

  provision, 29 U.S.C. § 203(m), which requires employers to pay a tipped employee a minimum

  of $2.13 per hour. Defendants also violated 29 U.S.C. § 203(m) when they failed to notify the

  Plaintiffs about the tip credit allowance (including the amount to be credited) before the credit

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  was utilized. That is, Defendants’ exotic dancers were never made aware of how the tip credit

  allowance worked or what the amounts to be credited were. Furthermore, Defendants violated 29

  U.S.C. § 203(m) because they did not allow Plaintiffs to retain all of their tips and instead required

  that they divide their tips amongst other employees who do not customarily and regularly receive

  tips. Because Defendants violated the tip-pool law, Defendants loses the right to take a credit

  toward minimum wage.

         44.     Defendants exercised significant control over Plaintiffs and all of its entertainers

  through written and unwritten policies and procedures. Defendants fined entertainers for failing

  to comply with management’s rules, including late fees added on for every hour an entertainer

  showed up, changing before getting permission to change at the end of a shift, and a fee to leave

  early. The Club controlled how the entertainers dressed, including that each entertainer must wear

  dance heels at all times they were on the floor or stage. Plaintiffs, and similarly situated

  entertainers, had to sign in each shift, check in with the DJ and participate in stage rotation and

  needed permission to leave at the end of a shift.

         45. Defendants required Plaintiffs and other entertainers at the Club to pay in order to

  work. Defendants required entertainers to pay between $30-$100 in house fees to the Club in

  order to work each shift.

         46. Defendants provided and paid for all advertising and marketing efforts undertaken

  on behalf of Defendants.

         47.     Defendants paid for the building used by Defendants’ maintenance of the facility,

  the sound system, stages, lights, beverages and inventory used at the facility.

         48.     Defendants made all hiring decisions regarding wait staff, security, entertainers,

  managerial and all other employees on the premises.

         49.     Defendants’ opportunity for profit and loss far exceeded Plaintiffs’ opportunity for
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  profit and loss from work at the Club.

           50.    Nude dancing is an integral part of Defendants’ operations. Defendants’

  advertising prominently displays nude dancing for its customers. The Club is well known as a

  “strip club.”

           51.    Defendants need entertainers to successfully and profitably operate their business

  model.

           52.    The position of entertainer requires no managerial skill of others.

           53.    The position of entertainer requires little other skill or education, formal or
                  otherwise.

           54.    The only requirements to become an entertainer at are “physical attributes” and the

  ability to dance seductively. The amount of skill required is more akin to an employment position

  than that of a typical independent contractor. Defendants do not require prior experience as an

  entertainer or any formal dance training as a job condition or prerequisite to employment.

  Defendants do not require an audition or any try-out process or provide any on-the-job training.

  Defendants do not require the submission of a resume or any educational background as a required

  to be hired. If Plaintiff or any other potential entertainer wants to perform, they just need to comply

  with the legal requires of the city of Harlingen and State of Texas.

           55.    Defendants failed to maintain records of wages, fines, fees, tips and gratuities

  and/or service charges paid or received by entertainers.

           56.    Plaintiffs were not paid an hourly minimum wage or any hourly wage or salary

  despite being present at Defendants’ facility and required to work and entertain its customers at

  any time during a seven-plus (7+) hour work shift.

           57.    Plaintiffs were not paid overtime wages at one-and-a-half (1½) times the regular

  minimum wage rate for any hours worked despite being present at Defendants’ facility and

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  required to work and entertain its customers for longer than eight (8) hours per shift.

          58.     The FLSA Class Members had the same pay structure and were under the same

  controls as Plaintiffs.

          59.     Plaintiffs and FLSA Class Members would work over forty (40) hours in some

  weeks each worked for Defendants.

          60.     Defendants have never paid Plaintiffs and the FLSA Class Members any amount

  as wages whatsoever and have instead unlawfully required Plaintiffs and FLSA Class Members

  to pay them for the privilege of working.

          61.     The only source of monies received by Plaintiffs (and the class they seeks to

  represent) relative to their employment with Defendants came in the form of gratuities received

  directly from customers, a portion of which Plaintiffs and the FLSA Class Members were required

  to pay to Defendants.

          62.     Although Plaintiffs and the FLSA Class Members are required to and do in fact

  frequently work more than forty (40) hours per workweek, they are not compensated at the FLSA

  mandated time-and-a-half rate for hours in excess of forty (40) per workweek. In fact, they receive

  no compensation whatsoever from Defendants and thus, Defendants violates the minimum wage

  requirement of FLSA. See 29 U.S.C. § 206.

          63.     Defendants’ method of paying Plaintiffs in violation of the FLSA was willful and

  was not based on a good faith and reasonable belief that its conduct complied with the FLSA.

  Defendants misclassified Plaintiffs with the sole intent to avoid paying her in accordance to the

  FLSA; the fees and fines described herein constitute unlawful “kickbacks” to the employer within

  the meaning of the FLSA, and Plaintiffs are entitled to restitution of such fines and fees.

          64.     Plaintiffs and FLSA Class Members who worked at the Club performed precisely

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  the same job duties - dancing and entertaining at the Club.

            65.   Plaintiffs and FLSA Class Members who worked at the Club during the applicable

  limitations period(s) were subject to the same work rules established by the Defendants as

  identified above.

            66.   Plaintiffs and FLSA Class Members at the Club were subject to the terms and

  conditions of employment and the same degree of control, direction, supervision, promotion and

  investment imposed or performed by Defendants.

            67.   Plaintiffs and FLSA Class Members at the Club during the applicable limitations

  period(s) were subject to the same across-the-board, uniformly appliedcorporate policy mandated

  by Defendants.

            68. Plaintiffs and the FLSA Class Members at the Club, during the applicable

  limitations period, were subject to the same fees and fines imposed by Defendants.

            69.   As a result of Defendants’ across-the-board, standard operating procedure of

  mischaracterizing dancers/entertainers as “independent contractors” and their consequent failure

  to pay any wages or compensation whatsoever, it is a certainly that numerous other current and

  former dancers and entertainers who worked at the Club during the applicable limitations period

  would elect to participate in this action if provided notice of same.

            70.   Upon information and belief, more than one hundred (100) dancers and

  entertainers have worked at the Club during the three (3) to five (5) years prior to the filing of this

  action.

            71.   Plaintiffs are “similarly situated” to the 29 U.S.C. § 216(b) class of persons they

  seeks to represent and will adequately represent the interests of the class.

            72.   Plaintiffs have hired Counsel experienced in class actions and in collective actions

  under 29 U.S.C. § 216(b) who will adequately represent the class.
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         73.     Defendants failed to keep records of tips, gratuities and/or service charges paid to

  Plaintiffs or any other entertainer and failed to maintain and furnish wage statements to Plaintiffs.

         74.     Federal law mandates that an employer is required to keep for three (3) years all

  payroll records and other records containing, among other things, the following information:

         a.      The time of day and day of week on which the employees’ work week begins;

         b.      The regular hourly rate of pay for any workweek in which overtime compensation

                 is due under section 7(a) of the FLSA;

         c.      An explanation of the basis of pay by indicating the monetary amount paid on a

                 per hour, per day, per week, or other basis;

         d.      The amount and nature of each payment which, pursuant to section 7(e) of the

                 FLSA, is excluded from the “regular rate”;

         e.      The hours worked each workday and total hours worked each workweek;

         f.      The total daily or weekly straight time earnings or wages due for hours worked

                 during the workday or workweek, exclusive of premium overtime compensation;

         g.      The total premium for overtime hours. This amount excludes the straight-time

                 earnings for overtime hours recorded under this section;

         h.      The total additions to or deductions from wages paid each pay period including

                 employee purchase orders or wage assignments;

         i.      The dates, amounts, and nature of the items which make up the total additions and

                 deductions;

         j.      The total wages paid each pay period; and

         k.      The date of payment and the pay period covered by payment.

  29 C.F.R. 516.2, 516.5.


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         75.     Defendants have not complied with federal law and have failed to maintain such

  records with respect to Plaintiffs and the FLSA Class Members. Because Defendants’ records are

  inaccurate and/or inadequate, Plaintiffs and the FLSA Class Members can meet their burden under

  the FLSA by proving that they, in fact, performed work for which they were improperly

  compensated, and produce sufficient evidence to show the amount and extent of their work “as a

  matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens Pottery Co., 328

  U.S. 680, 687 (1946). Plaintiffs seek to put Defendants on notice that they intend to rely on

  Anderson to provide the extent of her unpaid work.

         B.      INDIVIDUAL LIABILITY UNDER THE FLSA

         76.     In Lamonica v. Safe Hurricane Shutters, Inc., the U.S. Court of Appeals for the

  Eleventh Circuit held that individuals can be liable for FLSA violations under an expansive

  interpretation of “employer” for directors and officers. Lamonica v. Safe Hurricane Shutters, Inc.,

  711 F.3d 1299 (11th Cir. 2013). The FLSA defines “employer” as “any person acting directly or

  indirectly in the interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). The Fifth

  Circuit stated “[t]he dominant theme in the case law is that those who have operating control over

  employees within companies may be individually liable for FLSA violations committed by the

  companies.” Gray v. Powers, 673 F.3d 352, 357 (5th Cir. 2012).

         77.     Where an individual exercise “control over the nature and structure of the

  employment relationship,” or “economic control” over the relationship, that individual is an

  employer within the meaning of the FLSA and is subject to liability. Lambert v. Ackerley 180

  F.3d 997 (9th Cir. 1999) Factors related to “economic control,” which included ownership

  interest, operational control of significant aspects of the day-to-day functions, the power to hire

  and fire employees, determine salaries, and the responsibility to maintain employment records.


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  Gray, 673 F.3d at 355 (citing Williams v. Henagan, 595 F.3d 610, 615 (5th Cir. 2010).

  V.     COLLECTIVE ACTION ALLEGATIONS

         78.     Plaintiffs hereby incorporate by reference and re-alleges each and every

  allegation set forth in each and every preceding paragraph as though fully set forth herein.

         79.     Plaintiffs bring this action as an FLSA collective action pursuant to 29 U.S.C.

  § 216(b) on behalf of all persons who were or are employed by Defendants as exotic

  dancers/entertainers at any time during the three (3) years prior to the commencement of this

  action to present.

         80.     Plaintiffs have actual knowledge that FLSA Class Members have also been denied

  overtime pay for hours worked over forty (40) hours per workweek and have been denied pay at

  the federally mandated minimum wage rate. That is, Plaintiffs worked with other

  dancers/entertainers at the Club. As such, they have firsthand personal knowledge of the same

  pay violations throughout Defendants’ Club. Furthermore, other exotic dancers/entertainers at

  Defendants’ Club have shared with their similar pay violation experiences as those described in

  this Complaint.

         81.     Other employees similarly situated to Plaintiffs work or have worked at the Club

  but were not paid overtime at the rate of one and one-half (1 ½) their regular rate when those

  hours exceeded forty (40) hours per workweek. Furthermore, these sameemployees were denied

  pay at the federally mandated minimum wage rate.

         82.     Although Defendants permitted and/or required the FLSA Class Members to work

  in excess of forty (40) hours per workweek, Defendants have denied them full compensation for

  their hours worked over forty (40). Defendants have also denied them full compensation at the

  federally mandated minimum wage rate.

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          83.    FLSA Class Members perform or have performed the same or similar work as the

  Plaintiffs.

          84.    FLSA Class Members regularly work or have worked in excess of forty (40) hours

  during a workweek.

          85.    FLSA Class Members regularly work or have worked and did not receive

  minimum wage.

          86.    FLSA Class Members are not exempt from receiving overtime and/or pay at the

  federally mandated minimum wage rate under the FLSA.

          87.    As such, FLSA Class Members are similar to Plaintiffs in terms of job duties, pay

  structure, misclassification as independent contractors and/or the denial of overtime and minimum

  wage.

          88.    Defendants’ failure to pay overtime compensation and hours worked at the

  minimum wage rate required by the FLSA results from generally applicable policies or practices

  and does not depend on the personal circumstances of the FLSA Class Members.

          89.    The experiences of the Plaintiffs, with respect to their pay, are typical of

  the experiences of the FLSA Class Members.

          90.    The specific job titles or precise job responsibilities of each FLSA Class Member

  does not prevent collective treatment.

          91.    All FLSA Class Members, irrespective of their particular job requirements, are

  entitled to overtime compensation for hours worked in excess of forty (40) during a workweek.

          92.    All FLSA Class Members, irrespective of their particular job requirements, are

  entitled to compensation for hours worked at the federally mandated minimum wage rate.

          93.    Although the exact number of damages may vary among FLSA Class Members,


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  the damages for the FLSA Class Members can be easily calculated by a simple formula. The

  claims of all FLSA Class Members arise from a common nucleus of facts. Liability is based on

  a systematic course of wrongful conduct by the Defendants that caused harm to all FLSA Class

  Members.

           94.    As such, Plaintiffs brings their FLSA claims as a collective action on behalf of the

  following class:


             All of Defendants’ current and former exotic dancers/entertainers who
             worked at Jaguars located in Harlingen, Texas at any time starting
             three years before this Complaint was filed.
  VI.      CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION

              FAILURE TO PAY MINIMUM WAGE PURSUANT TO FLSA, 29 U.S.C. § 206

        (By Plaintiffs Individually and on Behalf of the Collective Against All Defendants)

           95.    Plaintiffs hereby incorporates by reference and re-alleges each and every

  allegation set forth in each and every preceding paragraph as though fully set forth herein.

           96.    Defendants are engaged in “commerce” and/or in the production of “goods” for

  “commerce” as those terms are defined in the FLSA.

           97.    Defendants operate an enterprise engaged in commerce within the meaning of the

  FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because its

  annual gross volume of sales made is more than five hundred thousand U.S. Dollars ($500,000).

           98.    Defendants failed to pay Plaintiffs minimum wage in violation of 29 U.S.C. § 206.

           99.    Based upon the conduct alleged herein, Defendants knowingly, intentionally and

  willfully violated the FLSA by not paying Plaintiffs the minimum wage under the FLSA.

           100.   Throughout the relevant period of this lawsuit, there is no evidence that
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  Defendants’ conduct that gave rise to this action was in good faith and based on reasonable

  grounds. In fact, Defendants continued to violate the FLSA long after it learned that its

  misclassification scheme and compensation policies were illegal.

         101.    Due to Defendants’ FLSA violations, Plaintiffs are entitled to recover from

  Defendants, minimum wage compensation and an equal amount in the form of liquidated

  damages, as well as reasonable attorneys’ fees and costs of the action, including interest,pursuant

  to 29 U.S.C. § 216(b).

                                   SECOND CAUSE OF ACTION

             FAILURE TO PAY OVERTIME WAGES PURSUANT TO FLSA, 29 U.S.C. § 207

        (By Plaintiffs Individually and on Behalf of the Collective Against All Defendants)

         102.    Plaintiffs hereby incorporate by reference and re-alleges each and every allegation

  set forth in each and every preceding paragraph as though fully set forth herein.

         103.    Each Defendant is an “employer” or “joint employer” of Plaintiffs within the

  meaning of the FLSA, 29 U.S.C. § 203(d).

         104.    Defendants are engaged in “commerce” and/or in the production of “goods” for

  “commerce” as those terms are defined in the FLSA.

         105.    Defendants operate an enterprise engaged in commerce within the meaning of the

  FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because its

  annual gross volume of sales made is more than five hundred thousand U.S. Dollars ($500,000.00).

         106.    Defendants failed to pay Plaintiffs the applicable overtime wage for each hour in

  excess of forty (40) during each workweek in which they worked in violation of 29 U.S.C. § 207.

         107.    Based upon the conduct alleged herein, Defendants knowingly, intentionally and

  willfully violated the FLSA by not paying Plaintiffs the overtime wage required under the FLSA.

         108.        Throughout the relevant period of this lawsuit, there is no evidence that
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  Defendants’ conduct that gave rise to this action was in good faith and based on reasonable

  grounds. In fact, Defendants continued to violate the FLSA long after it learned that its

  misclassification scheme and compensation policies were unlawful.

         109.    Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from

  Defendants, overtime wage compensation and an equal amount in the form of liquidated damages,

  as well as reasonable attorneys’ fees and costs of the action, including interest, pursuant to 29

  U.S.C. § 216(b).

                                    THIRD CAUSE OF ACTION

           UNLAWFUL TAKING OF TIPS IN VIOLATION OF THE FLSA, 29 U.S.C. § 203

        (By Plaintiffs Individually and on Behalf of the Collective Against All Defendants)

         110.    Plaintiffs hereby incorporate by reference and re-alleges each and every allegation

  set forth in each and every preceding paragraph as though fully set forth herein.

         111.    Plaintiffs customarily and regularly received more than thirty U.S. Dollars

  ($30.00) a month in tips and therefore is a tipped employee as defined in the FLSA, 29 U.S.C. §

  203(t), see also 29 C.F.R. § 531.50.

         112.    At all relevant times, Defendants were “employer(s)” or “joint employer(s)” of

  Plaintiffs within the meaning of the FLSA, 29 U.S.C. § 203(d).

         113.    Defendants are engaged in “commerce” and/or in the production of “goods” for

  “commerce” as those terms are defined in the FLSA.

         114.    Defendants operate an enterprise engaged in commerce within the meaning for the

  FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because its

  annual gross volume of sales made is more than five hundred thousand U.S. Dollars ($500,000).

         115.    Under TIPA:

                 [a]n employer may not keep tips received by its employees for any
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                 purpose including allowing managers or supervisors to keep any portion
                 of employees’ tips, regardless of whether or not it takes a tip credit.

         29 U.S.C. § 203.

         116.    Defendants kept a portion of tips paid to Plaintiffs by Defendants’ customers in the

  form of fees, fines, mandatory charges and other payments to management, house moms, disc

  jockeys, and floor men in violation of TIPA.

         117.    Defendants required Plaintiffs to participate in an illegal tip pool, which included

  employees who do not customarily and regularly receive tips, and do not have more than a de

  minimis, if any, interaction with customer leaving the tips (such as the Club DJ, security, and

  management). See U.S. Dep’t of Labor, Wage and Hour Division, “Fact Sheet # 15: Tipped

  employees under the Fair Labor Standards Act (FLSA).”

         118.    The contribution Defendants required Plaintiffs to make after each shift was

  arbitrary and capricious and distribution was not agreed to by Plaintiffs or other dancers; rather, it

  was imposed upon Plaintiffs and other dancers.

         119.    By requiring Plaintiffs to pool their tips with Club management, including the

  individual Defendants named herein, Defendants “retained” a portion of the tips received by

  Plaintiffs in violation of the FLSA.

         120.    Defendants did not make any effort, let alone a “good faith” effort, to comply with

  the FLSA as it relates to compensation owed to Plaintiffs.

         121.    At the time of their illegal conduct, Defendants knew or showed reckless disregard

  that the tip-pool which they required Plaintiffs to contribute included non-tipped employees and,

  therefore, was statutorily illegal. In spite of this, Defendants willfully failed andrefused to pay

  Plaintiffs the proper amount of the tips to which they were entitled.

         122.    Defendants’ willful failure and refusal to pay Plaintiffs the tips they earned violates

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  the FLSA.

         123.    Defendants kept a portion of tips paid to Plaintiffs by Defendants’ customers in

  the form of fees, fines, mandatory charges and other payments to management, house moms, disc

  jockeys, and door men in violation of TIPA.

         124.    As a result of the acts and omissions of the Defendants as alleged herein, and

  pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiffs are entitled to damages in the form of all

  misappropriated tips, plus interest; as liquated damages, an amount equal to all misappropriated

  tips, mandatory attorneys’ fees, costs, and expenses.

                                 FOURTH CAUSE OF ACTION
                             ILLEGAL KICKBACKS, 29 C.F.R. § 531.35
      (By Plaintiffs Individually and on Behalf of the Collective Against All Defendants)

         125.    Plaintiffs hereby incorporate by reference and re-alleges each and every allegation

  set forth in each and every preceding paragraph as though fully set forth herein.
         126.    Defendants required Plaintiffs to pay monetary fees to Defendants and other
  JAGUARS employees who did not work in positions that are customarily and regularly tipped,
  in violation of 29 U.S.C. § 203(m).
         127.    Defendants’ requirement that Plaintiffs pay fees to Defendants and other
  JAGUARS employees violated the “free and clear” requirement of 29 C.F.R. § 531.35.
         128.    Because Defendants violated the “free and clear” requirement of 29 C.F.R. § 531.35
  as alleged above, they were not entitled to utilize the FLSA’s tip-credit provision withrespect to
  Plaintiffs’ wages.

         129.    Because Defendants violated the “free and clear” requirement of 29 C.F.R. §

  531.35, all monetary fees imposed on Plaintiffs are classified as illegal kickbacks.
         130.    Plaintiffs are entitled to recover from Defendants all fees that Defendants required
  Plaintiffs to pay in order to work at JAGUARS, involving but not limited tohouse fees and tip

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  sharing.
                                       FIFTH CAUSE OF ACTION
                                    FORCED TIPPING, 29 C.F.R. § 531.35
        (By Plaintiffs Individually and on Behalf of the Collective Against All Defendants)

          131.      Plaintiffs hereby incorporate by reference and re-alleges each and every allegation

  set forth in each and every preceding paragraph as though fully set forth herein.

          132.      Defendants required Plaintiffs to pay monetary fees to other JAGUARS employees

  who did not work in positions that are customarily and regularly tipped, in violation of 29 U.S.C.

  § 203(m).

          133.      Defendants’ requirement that Plaintiffs pay fees to other JAGUARS employees

  violated the “free and clear” requirement of 29 C.F.R. § 531.35.

         134.       Because Defendants violated the “free and clear” requirement of 29 C.F.R. § 531.35

  as alleged above, they were not entitled to utilize the FLSA’s tip-credit provision withrespect to

  Plaintiffs’ wages.

          135.      Plaintiffs are entitled to recover from Defendants all fees that Defendants required

  Plaintiffs to pay other employees in order to work at the Club, involving but not limited to forced

  tip sharing.

                                      DEMAND FOR JURY TRIAL

         136.       Plaintiffs hereby demand a trial by jury for all such triable claims.

                                           PRAYER FOR RELIEF
          WHEREFORE, Plaintiffs request of this Court the following relief:
                 1. For compensatory damages according to proof at trial of at least $100,000;
                 2. For special damages according to proof at trial;
                 3. For restitution of unpaid monies;
                 4. For attorneys’ fees;
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             5. For costs of suit incurred herein;
             6. For statutory penalties;
             7. For civil penalties;
             8. For pre-judgment interest;
             9. For post-judgement interest;
             10. For general damages in an amount to be proven at trial;
             11. For such other and further relief as the tribunal may deem just and proper.



 Dated: July 9, 2021                                   Respectfully Submitted,

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